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IN THE UNITED sTATEs DISTRICT coUR'r
FoR THE WESTERN DIsTRICT 0F TENNESSEE 05 gun 23 AH 5= 3 7
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L.L¢:Hr\. u.:>. LJISTT CT.
W. D. OF TN, MEMPH!S

JIT CONCEPTS, INC., )
)
Plaintiff, )
)

v. ) Civil Action No.: 02~2891-DV
)
SHELBY COUNTY HEALTH )
CARE CORPORATION d/b/a )
REGIONAL MEDICAL CENTER )
AT MEMPHIS, )
)
Defendant. )

 

ORDER GRANTING SHELBY COUNTY HEALTH CAR.E CORPORATION’S
MOTION FOR STAY OF PROCEEDINGS TO ENFORCE A JUDGMENT

 

Upon consideration of the motion by Defendant Shelby County Health Care Corporation
dfb/a Regional Medical Center at Memphis for a stay of execution pursuant to Federal Rule of
Civil Procedure 62(b), it appears to the Court that there should be a stay of proceedings related to
enforcement of the judgment entered on June 1, 2005, due to the pendency of The Med’s
Renewed Motion for Judgment as a Matter of LaW or, in the alternative, Rule 59 Motion for a
New Trial, filed on June 20, 2005. During this stay, The Med should not be required to post a

bond or other security as it is a solvent corporation and the judgment is secure.

I'l` IS, THEREFORE, ORDERED that proceedings related to enforcing the Judgment
entered on June 1, 2005 should be stayed pending resolution of Defendant’s Renewed Motion for

Judgrnent as a Matter of Law or, in the alternative, Rule 59 Motion for a New Trial.

'|"“is document entered on the docket sheet in compliance
with F\ule 58 and/or ?9(a} FHGP on

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lt is so oRDERED chis¢Zg day £_YML, 2005.

TED sr GE/ t ' ’/

CONSENTED TO AND
APPROVED FOR ENTRY:

WM

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Notice of Distribution

This notice confirms a copy of the document docketed as number 121 in
case 2:02-CV-02891 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

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